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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
CIVIL ACTION NO. 6:21-CV-1022-WWB-LHP

HSC MEDICAL, INC.,

a Canadian corporation,
Plaintiff,
v.

DARREN NEIL MASTERS,
individually, et al.,

Defendants.

STIPULATION AND CONSENT TO WAIVER OF OBJECTION
PERIOD OF COURT’S REPORT AND RECOMMENDATION

[D.E. 91]
HSC MEDICAL INC. “HSC”’), Plaintiff, and Darren Neil Masters,

individually (“Masters”), Granite Investment Global US LLC, a Florida
limited liability company (“Granite”), SN-SCP LLC, a Florida limited
liability company (“SN-SCP”), and CW Financial Consulting LLC, a
Florida limited liability company (“CW,” and together with Masters,

Granite, and SN-SCP, the “Granite Defendants”), hereby stipulate as

follows:

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1. HSC and the Granite Defendants stipulate and agree that none
of them have any objections to the factual findings and legal conclusions
set forth in the Report and Recommendation entered by the Court on
February 5, 2024 [D.E. 91].

2. HSC and the Granite Defendants stipulate, agree, and consent
to the entry of an order waiving the fourteen-day objection period for
which a party has to serve and file written objections to the Report and
Recommendation’s factual findings and legal conclusions issued by this
Court.

3. HSC and the Granite Defendants stipulate, agree, and consent
to the entry of an order aang: the fourteen-day objection period to the
Report and Recommendation’s factual findings and legal conclusions, and
ceri stipulate, agree, ad consent to the entry of the Court’s judgment
adopting the Report and Recommendation entered by this Court.

4. HSC, through undersigned counsel, conferred with Counsel for
Garnishee, JPMorgan Chase Bank, N.A. (“JPMorgan Chase”), who
represented that JPMorgan Chase has no objection to the entry of the

proposed judgment.
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HSC MEDICAL,

Canadian A kb

Hani 4. Sardi, las < Executive
Officer
Date: February 9, 2024

INC

a|DARREN NEIL MASTERS,
individually

Ll

Date: February 9, 2024

GRANITE INVESTMENT
GLOBAL US, LLC, a Florida
limited liability company

Wk

SN-SCP, LLC, a Florida limited
liability company

Wie

Darren Neil Masters, as Manager
Date: February 9, 2024

Darren Neil Masters, as Manager
Date: February 9, 2024

CW FINANCIAL CONSULTING,
LLC, a Florida limited liability
company

Darren Neil Masters, as Manager
Date: February 9, 2024

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Dated: February 9, 2024 Respectfully submitted,

/s/ Jeffrey T. Kucera

Jeffrey T. Kucera

Florida Bar No. 682338

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K&L GATES LLP

Southeast Financial Center
200 South Biscayne Boulevard
Suite 3900

Miami, Florida 33131
Telephone: 305.539.3300
Facsimile: 305.358.7095

Attorneys for HSC Medical, Inc.

CERTIFICATION OF CONFERRAL

Pursuant to Rule 3.01(g) of the Local Rules for the Middle District of
Florida, the undersigned hereby certifies that HSC has conferred with
Counsel for Garnishee, JPMorgan Chase Bank, N.A., whom advised that
JPMorgan Chase has no opposition to the relief sought herein.

Dated: February 9, 2024

/s/ Jeffrey T. Kucera
Jeffrey T. Kucera

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CERTIFICATE OF SERVICE

The foregoing document was filed electronically in accordance with
the local rules and was therefore served electronically on those parties
that have properly registered for such electronic service:

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Counsel for Garnishee, JPMorgan Chase Bank, N.A.
The foregoing document was sent by First Class U.S. Mail to:
Defendant, GRANITE INVESTMENT GLOBAL US LLC, c/o Darren Neil

Masters, 434 Trade Winds Ave., Naples, FL 34108, to DARREN NEIL

We

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MASTERS, 434 Trade Winds Ave., Naples, FL 34108, and to GRANITE
INVESTMENT GLOBAL US LLC, 1572 Fortaleza Way, Vista, CA 92081-
2530 as disclosed in JPMorgan Chase Bank’s Answer to the Writ of
Garnishment.

Dated: February 9, 2024

/s/ Jeffrey T. Kucera
Jeffrey T. Kucera

